




NO. 07-08-0074-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



MAY 16, 2008

______________________________



ANTHONY DAVID DRAGER, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE

_________________________________



FROM THE 108TH DISTRICT COURT OF POTTER COUNTY;



NO. 57,042-E; HONORABLE ABE LOPEZ, JUDGE

_______________________________





Before CAMPBELL and HANCOCK and PIRTLE, JJ.

ORDER OF ABATEMENT AND REMAND

Appellant, Anthony David Drager, has timely given notice of appeal from a conviction and sentence in the 108th District Court of Potter County, Texas (the trial court), for the offense of engaging in organized criminal activity. &nbsp;The reporter’s record and trial court clerk's record were due to be filed no later than May 8, 2008. &nbsp;The clerk of this court is in receipt of a request for extension from the trial court clerk dated May 7, 2008, which advises appellant has not paid or made arrangements for payment of the record. &nbsp;Additionally, the trial court clerk advised us that no attorney had been appointed on the appeal. &nbsp;Accordingly, this appeal is abated and the cause is remanded to the trial court. &nbsp;
Tex. R. App. P. 
37.3(a)(2). &nbsp;

Upon remand, the trial court shall immediately cause notice of a hearing to be given, if necessary, and, thereafter conduct a hearing to determine the following:

1.	whether appellant desires to prosecute the appeal, and if so,

2.	(a)	whether appellant's trial counsel of record continues to represent him and what steps need to be taken to ensure a diligent pursuit of the appeal; &nbsp;or

(b)	whether trial counsel for appellant has abandoned the appeal;

3.	whether appellant has been deprived of a clerk's record because of ineffective assistance of counsel or for any other reason;

4.	if appellant desires to prosecute this appeal, whether appellant is indigent and entitled to appointed counsel;



If the trial court determines that appellant does want to continue the appeal and is indigent, then the trial court shall also take such measures as may be necessary to assure appellant effective assistance of counsel, including the appointment of new counsel if necessary. &nbsp;The trial court should cause the clerk of this court to be furnished the name, address, and State Bar of Texas identification number of the newly-appointed or the newly-retained attorney. &nbsp;Finally, the trial court shall execute findings of fact, conclusions of law, and such orders as the court may enter regarding the aforementioned issues and cause its findings and conclusions to be included in a supplemental clerk's record. A supplemental record of the hearing shall also be included in the appellate record. &nbsp;Finally, the trial court shall file the supplemental clerk's record and the supplemental reporter's record with the Clerk of this Court by June 16, 2008.

It is so ordered.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;					 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Per Curiam

Do not publish.


